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                              UNITED STATES BANKRUPTCY COURT,SOUTHERN DISTRICT OF FLORIDA

                                                            www.flsb.uscourts.gov
                                                CHAPTER 13 PLAN (Individual Adjustment of Debtsi
                                                                    Original Plan

                        □                                           Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                        □                                           Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Manuel Umana                                     JOINT DEBTOR: Nubia Umana                             CASE NO.:
SS#: xxx-xx- 6905                                           SS#: xxx-xx-4482
I.          NOTICES
            To Debtors:           Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                  and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                  Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                                  filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:         Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                  be reduced, modified or eliminated.
            To All Parties:       The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                                  box on each line listed below in this section to state whether the plan includes any of the following:

  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                               r~] Included          \m\   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
  out in Section III
                                                                                                                     Included        r~] Not included
  Nonstandard provisions, set out in Section IX                                                                n Included            (■]   Not included
II.     PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $177.31               for months    1    to 60   ;

            B. DEBTORfSV ATTORNEY'S FEE:                                           n none         □ PRO BONO
        Total Fees:               $5,175.00           Total Paid:              $1,900.00            Balance Due:         $3,275.00

        Payable _           $159.58           /month (Months _\_ to 20 )
        Payable _           $83.40            /month (Months 21     to 21 )
        Allowed fees under LR 2016-1(B)(2) are itemized below:
        Safe Harbor: $4,500.00 Attorney's Fees + $150.00 Costs + $525.00 Motion to Avoid Lien = $5,175.00

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
HI.         TREATMENT OF SECURED CLAIMS                         □ NONE
            A. SECURED CLAIMS:                jf] NONE
            B. VALUATION OF COLLATERAL;                     (1 NONE
            C. LIEN AVOIDANCE □ NONE
               [i] Judicial liens or nonpossessory, nonpurchase money security interests securing the claims will be avoided to the extent that
                   they impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR
                   7004 and LR 3015-3.
          1. Creditor: Citizens Property Insurance Corporation                     Collateral:   19321 NW 37 CT.,
                                                                                                 Miami Gardens, FL 33055
              Address: 301 W Bay ST, #1300
                       Jacksonville FL 32202-0000                                             Fla. Const. Art. X, § 4(a)(1); Fla Stat Ann Secs.
                                                                                   Exemption: 222.01 & 222.02

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                                                                       Debtor(s); Manuel Umana, Nubia Umana               Case number:

         Last 4 Digits of Account No.:       CAOl

            D. SURRENDER OF COLLATERAL:                      [f] NONE

            E. DIRECT PAYMENTS                Q     NONE

            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution fom the Chapter 13 Trustee.
                   [■] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                       confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                       codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                          Name of Creditor              Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                          LoanCare, LLC / NewRez        6871                         19321 NW37CT.,
                                                                                     Miami Gardens, FL 33055
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                              [|] NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                     □ NONE

               A. Pay            $0.00       /month (Months      1    to 20 )

                    Pay         $76.18       /month (Months     21    to 21    )

                    Pay        S159.58       /month (Months     22    to 60 )

                    Pro rata dividend will be calculated by the Trustee upon review of fi led claims after bar date.

               B. [[] If checked, the Debtor(s) will amend/modily to pay 100% to all allowed unsecured nonpriority claims,
               C. SEPARATELY CLASSIFIED:                 [f] NONE
VI.         STUDENT LOAN PROGRAM                   [■] NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                    0 NONE
VIII.       INCOME TAX RETURNS AND REFUNDS: 0 NONE
IX.         NON-STANDARD PLAN PROVISIONS 0 NONE


                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

     I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.



                                             Debtor    February 26, 2022                                           Joint Debtor    February 26, 2022
 Manuel tlmana                                                Date                  Nubia Umana                                           Date




     Attorney with permission to sign on                     Date
              Debtor(s)' behalf

     By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
     order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
     contains no nonstandard provisions other than those set out in paragraph VIII.




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